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                           IN THE UNITED STATES DISTRICT
                         COURT FOR THE NORTHERN DISTRICT
                              OF OHIO EASTERN DIVISION



        IN RE: NATIONAL PRESCRIPTION                                 MDL NO. 2804
              OPIATE LITIGATION
                                                              Civ. No. 1:17-md-02804-DAP
          THIS DOCUMENT RELATES TO:                         HON. JUDGE DAN A. POLSTER
                   All Cases




             CERTAIN DEFENDANTS’ REPLY TO PLAINTIFFS’ RESPONSE
                   REGARDING EX PARTE COMMUNICATIONS

         Defendants listed in the margin 1 (“Defendants”) do not consent to ex parte

communications by the Court or its Special Masters concerning settlement of any matter pending

in this MDL, and have withdrawn any prior consent to such ex parte communications. Dkt. No.

3200. Therefore, as of March 2, 2020, ex parte communications by the Court or its Special Masters

with any parties or non-parties (including any State Attorneys General) are prohibited by Canon

3(A)(4)(d) of the Code of Conduct for United States Judges. Plaintiffs’ counsel, including

members of the Plaintiffs Executive Committee (“PEC”), are also independently prohibited from

engaging in such ex parte communications with the Court and its Special Masters by ABA Model

Rule Prof’l Conduct 3.5(b).

         The Code of Conduct for United States Judges and the ethical rules are clear. Neither the

Court nor its Special Masters may communicate ex parte about a matter with any interested party




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    AmerisourceBergen Drug Corporation, Cardinal Health, Inc., and McKesson Corporation.
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(including non-parties to the litigation) if the litigants do not consent. The Plaintiffs do not

seriously dispute this. Moreover, even where there is consent, the Code of Conduct for United

States Judges permits judicial participation in ex parte communication for purposes of aiding

settlement only if it does not cross the line into advocacy or coercion, regardless of whether the

parties have consented to ex parte contact. As the Commentary to Canon 3(A)(4) states, “[a] judge

may encourage and seek to facilitate settlement but should not act in a manner that coerces any

party into surrendering the right to have the controversy resolved by the courts.” See also Gerber

v. Veltri, 702 F. App’x 423, 429-30 (6th Cir. 2017) (A district judge who engages in settlement

discussions must remain a “dispassionate and impartial arbiter” and not assume “the posture of an

advocate.” (internal citations omitted)); Anderson v. Sheppard, 856 F.2d 741, 745-47 (6th Cir.

1988); United States v. Hickman, 592 F.2d 931, 933 (6th Cir. 1979). These additional ethical

constraints cannot be overcome by any consent that may previously have been given.

       The PEC objects to these ethical restrictions and asserts that Defendants “waived their

right” to affirmatively consent to the Court engaging in substantive ex parte conversations. This

is incorrect. The fact that Defendants may have consented to ex parte communications at one point

does not bind them to continue “consenting” against their will, in all circumstances for the entire

course of the litigation. The PEC offers nothing from the Canon, the ABA Model Rules, or any

other legal or ethical authority to support this novel proposition. Rather, the Canon’s narrow

exception to the rule against ex parte communications is premised on a party’s affirmative consent.

See Canon 3(A)(4)(d) (“A judge may [, . . .] with consent of the parties, confer separately with the

parties and their counsel in an effort to mediate or settle pending matters.” (emphasis added)).

When, as here, that consent does not exist, the exception does not apply. Indeed, it would be hard

to imagine how the Court could maintain the perception of fairness in these proceedings if it were



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to persist in conducting private conversations related to the matter with one of the parties or non-

parties despite an explicit, ongoing objection by their opponents.

       In addition, the right to consent is not merely an individual protection for a given litigant.

It is a structural protection for the actual and perceived neutrality of the judiciary in a “system

[that] assumes that adversarial testing will ultimately advance the public interest in truth and

fairness.” See In re Kensington Int’l, Ltd., 368 F.3d 289, 310 (3d Cir. 2004) (quoting Polk Cty. v.

Dodson, 454 U.S. 312, 318 (1981)). See also, e.g., Knop v. Johnson, 977 F.2d 996, 1011 (6th Cir.

1992) (“Ex parte communications from a judge’s chambers to one side in a contested lawsuit are

‘clearly at odds with our adversary system of justice.’” (quoting Price Bros. Co. v. Phila. Gear

Corp., 649 F.2d 416, 425 (6th Cir. 1981)); In re Application of Eisenberg, 654 F.2d 1107, 1112

(5th Cir. 1981) (“Our adversarial legal system generally does not tolerate ex parte determinations

on the merits of a civil case.”). The Canon’s prohibition on ex parte communications absent

consent thus protects public confidence in the judiciary by “prevent[ing] all the evils of ex parte

communications: ‘bias, prejudice, coercion, and exploitation.’” In re Kensington, 368 F.2d at 310

(quoting Jeffrey M. Shaman et al., Judicial Conduct and Ethics § 5.03 (3d ed. 2000)). Compelling

a party to continue, against its will, to participate in proceedings in which opposing counsel or

others engage in private conversations with the Court undermines not only the actual fairness of

that proceeding, but the perception of fairness in judicial proceedings generally.

       As discussed in Defendants’ notice of non-consent, this Court has already recognized the

restrictions on its ability to engage in substantive ex parte communications without consent.

Although this Court denied as “moot” certain defendants’ motion to prohibit ex parte

communications in a December 5, 2019 docket entry, it did so because, “[p]er the Canon,” the

Court would not engage in ex parte communications absent those defendants “ask[ing] the Court



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to do so.” Non-Document Order, dated Dec. 5, 2019. Thus, contrary to the PEC’s unsupported

assertions, this Court has previously acknowledged that it cannot simply “exercise its case

management authority” to force Defendants or any other party or non-party to submit to

proceedings in which the Court engages in ex parte communications without consent. See

Plaintiff’s Response in Opposition at 4-5, Dkt. No. 3203.

       The PEC cites this Court’s Order appointing Special Masters under Rule 53 as a basis for

the Court continuing ex parte communication without Defendants’ consent.             This is also

unavailing. First, the Order provides no authority for the Court to engage in substantive ex parte

communications with either parties or non-parties. It in fact prohibits the “Special Masters [from]

communicat[ing] to the Court any substantive matter the Special Master learned during an ex parte

communication between the Special Master and any party.” Appointment Order at 3, Dkt. No. 69

(emphasis added). Further, although Rule 53 allows for ex parte communications between the

Special Master and the Court in some circumstances, it says nothing of, and therefore grants no

authority for, the Court engaging in ex parte communications on substantive matters with parties

or non-parties. Indeed, the commentary to Rule 53 warns that “[e]x parte communications between

a master and the court present troubling questions,” and “[o]rdinarily the order should prohibit

such communications.” Fed. R. Civ. P. 53(b), advisory committee’s note to 2003 amendment.

Rule 53 therefore does not change the fact that a court cannot order a party to “consent” to the

court’s ex parte communications against that party’s will, no matter how much an opposing party

would like it to do so. See Canon 3(A)(4)(d).

       There is also no basis for the PEC’s implication that Defendants must meet an unspecified

burden of proof regarding the factual basis for declining consent to ex parte communications, and

the PEC cites none.      Litigants have the right to grant or withhold consent to ex parte



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communications at their discretion, including when, as here, articulating more requires discussion

of settlement negotiations in violation of the Court’s orders on confidentiality. Moreover, the PEC

does not identify any detrimental reliance or unfair prejudice from a prospective restriction on one-

sided conversations with the Court. Defendants intend to continue to work towards resolution, but

the most productive path to a potential resolution does not include ex parte communications with

the Court or its Special Masters.




March 9, 2020                                     Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 9, 2020 a copy of the foregoing was filed electronically.
Notice of this filing will be sent to all parties by operation of the Court’s electronic filing system.
Parties may access this filing through the Court’s system.

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